















In The

Court of Appeals

For The

First District of Texas

_______________


NO. 01-96-01333-CR 

_______________


HENRY RAY CLARK, Appellant

V.

THE STATE OF TEXAS, Appellee

                                                                                                                                           
On Appeal from the 208th District Court

Harris County, Texas

Trial Court Cause No. 698933

                                                                                                                                            


O P I N I O N


	A jury found appellant, Henry Ray Clark, guilty of possession of delivery of
two to four grams of cocaine, and a judge sentenced him to two years in state jail,
suspended for five years community supervision, with a $500 fine.

	Counsel has filed a brief stating his opinion that the appeal is frivolous.  The
brief meets the minimum requirements of Anders v. California, 386 U.S. 738, 744,
87 S. Ct. 1396, 1400 (1967), by presenting a professional evaluation of the record and
stating why there are no arguable grounds of error on appeal.  See Gainous v. State,
436 S.W.2d 137, 138 (Tex. Crim. App. 1969).

	Counsel certifies that the brief was delivered to appellant, and he was advised
he had a right to file a pro se response.  Thirty days have passed, and appellant has
not filed a pro se response. 

	We have reviewed the record and counsel's brief.  We hold there are no
arguable grounds for appeal.

	We affirm the judgment.

PER CURIAM

Panel consists of Justices Mirabal, Taft, and Alcala.

Do not publish.  Tex. R. App. P. 47.1.


